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                                 NORTHERN DISTRICT OF CALIFORNIA
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19
     Francis Costa, Amanda Hoffman, and Olivia          Case No. 3:23-CV-01353-WHO
20   McIlravy-Ackert, individually and on behalf of
     others similarly situated,                         STIPULATION AND [PROPOSED]
21                                                      ORDER RE RULE 23 CLASS NOTICE
                       Plaintiffs,                      AND CLASS DEFINITION
22
            v.                                          Filed: March 23, 2023
23
     Apple Inc.,                                        Honorable William H. Orrick
24
                       Defendant.
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     STIPULATION AND [PROPOSED] ORDER RE RULE 23 CLASS NOTICE AND CLASS DEFINITION
                               CASE NO. 3:23-CV-01353-WHO
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 1             Francis Costa, Amanda Hoffman, and Olivia McIlravy-Ackert (“Plaintiffs”) and Apple Inc.
 2    (“Defendant”) (collectively, the “Parties”), stipulate:
 3             1.    On February 10, 2025, the Court issued an Order that, among other things, certified two
 4    Rule 23 classes, one for California class members and another for New York class members, as defined
 5    below:
                    Current California Class Definition:
 6                  All current and former California employees who Apple, Inc. classified as non-
 7                  exempt/overtime eligible who received restricted stock units that vested on or after
                    June 14, 2019, and recorded more than forty hours of work in a workweek or more
 8                  than eight hours of work in a workday after receiving an RSU but before the RSU
                    vested. This excludes those who signed an arbitration agreement.
 9
                    Current New York Class Definition:
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                    All current and former New York employees who Apple, Inc. classified as non-
11                  exempt/overtime eligible who received restricted stock units that vested on or after
                    August 11, 2017, and recorded more than forty hours of work in a workweek after
12                  receiving an RSU but before the RSU vested. This excludes those who signed an
                    arbitration agreement.
13

14    (See Order 4, Dkt. 383.) On March 10, 2025, the Court ordered the Parties to submit the proposed class
15    notice for approval. (Order on Stip., Dkt. 396.)
16             2.    In the Order granting class certification, the Court excluded 131 Fair Labor Standards Act
17    Opt-in Plaintiffs who signed releases and in doing so stated that it “will modify the definition of the
18    FLSA collective so that those opt-in plaintiffs who . . . are shown to have released their claims against
19    Apple are excluded.” (Order 1, 18, Dkt. 383.)
20             3.    The Parties agree, with the Court’s permission, to exclude from the Rule 23 classes all
21    class members who signed a separation, severance, or settlement agreement that released their claims
22    during the entire relevant time period. As a result, the Parties propose revising the class definitions to
23    describe this exclusion, as follows:
24
                    Revised California Class Definition:
25                  All current and former California employees who Apple, Inc. classified as non-
                    exempt/overtime eligible who received restricted stock units that vested on or after
26                  June 14, 2019, and recorded more than forty hours of work in a workweek or more
                    than eight hours of work in a workday after receiving an RSU but before the RSU
27                  vested. This excludes those who signed an arbitration agreement and excludes those
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                                                         2
     STIPULATION AND [PROPOSED] ORDER RE RULE 23 CLASS NOTICE AND CLASS DEFINITION
                              CASE NO. 3:23-CV-01353-WHO
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 1                who signed a separation, severance, or settlement agreement that released their
                  claims during the entire relevant time period.
 2

 3                Revised New York Class Definition:
                  All current and former New York employees who Apple, Inc. classified as non-
 4                exempt/overtime eligible who received restricted stock units that vested on or after
                  August 11, 2017, and recorded more than forty hours of work in a workweek after
 5                receiving an RSU but before the RSU vested. This excludes those who signed an
                  arbitration agreement. This excludes those who signed an arbitration agreement and
 6                excludes those who signed a separation, severance agreement, or settlement
 7                agreement that released their claims during the entire relevant time period.
            4.       The Parties agree that notice shall be distributed by the settlement administrator to the
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     class members by mail, email, and text.
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            5.       The Parties agree to the forms of notice provided as Exhibits to this Stipulation and
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     Proposed Order. (See Exhibit 1 Mail Notice, Exhibit 2 Email Notice, and Exhibit 3 Text Notice.)
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            6.       The Parties agree that within 21 days of the Court’s approval of this Stipulation and
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     Proposed Order, Apple shall provide the settlement administrator with a separate list for each of the
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     classes that includes the name, Claimant ID, last known address, phone number, and email address of the
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     class members.
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            7.       The Parties agree that the settlement administrator shall then promptly distribute one mail
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     notice, one email notice (to the extent an email address is provided), and one text notice (to the extent a
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     phone number is provided) to the class members.
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19
     Date: 3/14/25                                 NICHOLS KASTER, PLLP
20

21
                                                   By: /s/ Michele R. Fisher
22

23                                                 Attorneys for Plaintiffs

24
     Date: 3/14/25                                 GIBSON, DUNN & CRUTCHER LLP
25

26
                                                   By: /s/ Megan Cooney
27

28                                                 Attorneys for Defendant Apple Inc.
                                                     3
     STIPULATION AND [PROPOSED] ORDER RE RULE 23 CLASS NOTICE AND CLASS DEFINITION
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 1   PURSUANT TO STIPULATION, IT IS SO ORDERED:
 2         The Parties’ Stipulation above is hereby GRANTED.

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 4

 5   Date: _______________, 2025                    __________________________________
                                                    William H. Orrick
 6                                                  United States District Judge
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 1                                     ECF SIGNATURE ATTESTATION
 2             In accordance with Civil Local Rule 5-1, the filer of this document hereby attests under penalty

 3   of perjury that the concurrence in the filing of this document has been obtained from all signatories

 4   hereto.

 5

 6   Date: 3/14/25                                  NICHOLS KASTER, PLLP

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 8                                                  By: /s/ Michele R. Fisher
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